10/23/2017Case                           Los Angeles
                 2:17-cv-05752-R-RAO Document    15-4County, CA Code
                                                         Filed       of Ordinances
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2.76.540 - Hospitals—Professional sta organization—Membership and privileges.

  A.    The professional sta s (physicians and dentists) of county hospitals shall form self-governing
        professional sta organizations which shall act in a purely advisory capacity to the hospital
        administrator and the director of health services in matters of medical and dental sta appointments,
        patient care, professional organization, standards and requirements. The director of health services
        shall have sole authority to act in all matters concerning the department of health services, including
        the above.
  B.    The professional sta organization shall function in accordance with bylaws which have been
        approved by the board of supervisors. Amendments to such bylaws shall also be approved by the
        board of supervisors before they become e ective.
  C.    Physicians and dentists in the county classi ed service shall not be required to join the professional
        sta organization. All other physicians and dentists seeking to practice in county hospitals shall be
        required to apply for and become a member of the professional sta organization in accordance with
        the procedures set forth in said bylaws.
  D.    Irrespective of the recommendations of the professional sta organization, the director of health
        services may, in his sole discretion, reject or appoint physicians and dentists to the sta of county
        hospitals. Such an appointment automatically quali es such persons for membership in the
        professional sta organization. The director of health services shall also have sole authority to limit the
        scope of practice of such persons, and to terminate their sta appointments.
  (Ord. 12412 § 2, 1981: Ord. 10656 § 2 (part), 1973: Ord. 4099 Art. 9-A § 150.48, 1942.)




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